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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA                           FEB I 2 2019
                                Richmond Division
                                                                              CLERK, U.S. DISTRICT COURT
                                                                                    RICHMOND, VA
UNITED STATES OF AMERICA                     )
                                             )
v.                                           )    Case No. 3:18CRI42-HEH
                                             )
STEPHEN L. JAFFE,                            )
                                             )
               Defendant.                    )

                                MEMORANDUM OPINION
                  (Defendant's Appeal of Magistrate Judge's Decision)

        Doctor Stephen L. Jaffe ("Dr. Jaffe"), a staff neurologist at the Hunter Holmes

McGuire Veteran's Administration Medical Center (the "V.A. Hospital") in Richmond,

Virginia, and clinical professor of neurology at the Virginia Commonwealth University

School of Medicine, was convicted in United States Magistrate Court of simple assault.

Dr. Jaffe timely noted his appeal and the case is before this Court for review.

        The events at issue occurred on May 3, 2018. The complainant, Serendipity

Rinonos ("Dr. Rinonos"), a neurology resident at Virginia Commonwealth University

School of Medicine, was assigned to the V.A. Hospital as part of her neurology rotation.

The V.A. Hospital is situated in the Eastern District of Virginia and within the special

territorial jurisdiction of this Court.

        The incident underlying Dr. Jaffe's conviction can be succinctly described as a

dispute between Dr. Jaffe, acting in his capacity as a clinical professor of neurology, and

Dr. Rinonos, a neurology resident training under his supervision, as to whether Dr. Jaffe

should wear gloves while administering a trigger point injection to a patient in an
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examination room at the V.A. Hospital. Dr. Jaffe steadfastly declined to wear gloves

contending they were both unnecessary and affected the precision of his hands. (Tr. 85-

88, 102-04, ECF No. 28.) Dr. Rinonos offered to obtain better fitting gloves for Dr.

Jaffe, which he refused.

       As this conversation took place, the patient, Connie Rhem ("Rhem"), was lying on

his back in the examination room facing away from the door. Rhem was not in a position

to observe the altercation but heard Dr. Jaffe tell Dr. Rinonos not to leave the room.

Rhem testified that he did not observe Dr. Jaffe make physical contact with Dr. Rinonos.

(Id. at 54-57.)

       Linda Beatty, a licensed practical nurse ("Nurse Beatty"), was situated across the

room preparing syringes for the procedure. (Id. at 19-23.) Nurse Beatty was in the

examination room during the debate which culminated in Dr. Rinonos walking toward

the door to exit the room after inquiring about Dr. Jaffe's glove size. As she moved

toward the door, Dr. Jaffe, after saying "Don't go," grabbed Dr. Rinonos by her shoulders

with both hands. (Id. at 90-91.) Dr. Rinonos placed her hands on Dr. Jaffe's upper arms

to prevent him from advancing further. (Id.) These events were witnessed by Nurse

Beatty who testified that she saw Dr. Jaffe "tum around towards" Dr. Rinonos and put

"his hands on top of her shoulders." (Id. at 31-32.) The magistrate judge then asked

Nurse Beatty, "[a]s if to restrain her movement?" Nurse Beatty replied, "Yes." (Id. at

32.) She further testified that she witnessed Dr. Rinonos struggle for five to ten seconds

while Dr. Jaffe held her shoulders and said "No, don't go. We have to do this

procedure." (Id.) Dr. Rinonos then left the room and proceeded to the office of the Chief

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of the V.A. Hospital's Neurology Department. Nurse Beatty and Dr. Jaffe completed the

procedure and continued their rounds.

       Later that day, Dr. Rinonos met with Officer Albert Harris ("Officer Harris"), an

investigator with the V.A. Hospital. Officer Harris testified that Dr. Rinonos described

Dr. Jaffe's contact with her as a bear hug and that she did not sustain any injuries. (Id. at

144-45.) Dr. Rinonos, however, denied describing her contact with Dr. Jaffe as a bear

hug. (Id. at 111.) She also conceded during her testimony that Dr. Jaffe could lose his

hospital privileges and would have no further contact with patients if convicted. (Id. at

113, 206.)

       In his testimony, Dr. Jaffe concedes that he and Dr. Rinonos debated the necessity

for wearing gloves to administer the trigger point injection procedure. He testified that

Dr. Rinonos approached him and confronted him "face-to-face," causing him to

instinctively raise his hands "to the sides of her upper arms," in an attempt to "stabilize"

the situation. (Id. at 182.) Dr. Jaffe characterized his contact with Dr. Rinonos as

uminimal." (Id. at 182-85.)

       After hearing the evidence and argument of counsel, the United States Magistrate

Judge found the testimony of Nurse Beatty, Rhem, and Dr. Rinonos to be persuasively

credible. He described Dr. Jaffe's testimony as "self-serving and directly in conflict of

other witnesses." (Id. at 208.) Therefore, the Court found Dr. Jaffe guilty of simple

assault. (Id.)

       In seeking appellate review by the district court, Dr. Jaffe contends that the

evidence adduced by the government was insufficient to support a finding of guilty of

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simple assault. As the Magistrate Judge articulated, this case distills to one of credibility

of witnesses. Dr. Jaffe argues that

       Not only was there no evidence of the requisite intent on Dr. Jaffe's part,
       the Magistrate Judge erred as a matter of law when it found that because
       "he intentionally touch[ed] her to restrain her movement," Dr. Jaffe is
       guilty of simple assault. ... This simply is not the law.... [T]he
       prosecution must establish the intent of the actor and that intent is one with
       a criminal element - the touching must be patently offensive and the actor
       has to intend for it to be.

(Def.'s Br. Supp. Appeal 12, ECF No. 30.)

       In its opposition brief, the United States reminds the Court that appellate review is

both informed and constrained by the record at hand. 1 Furthermore, as the United States

Court of Appeals for the Fourth Circuit restated in United States v. Landersman, "[w]e

review judgments resulting from a bench trial under a mixed standard of review: factual

findings may be reversed only if clearly erroneous, while conclusions of law are

examined de novo." 886 F.3d 393,406 (4th Cir. 2018) (quoting Raleigh Wake Citizens

Ass'n v. Wake Cty. Bd. ofElections, 827 F.3d 333,340 (4th Cir. 2016)). The Court in

Landersman further noted

       In assessing the sufficiency of the evidence presented in a bench trial, we
       must uphold a guilty verdict if, taking the view most favorable to the
       Government, there is substantial evidence to support the verdict.
       "Substantial evidence" means evidence that a reasonable finder of fact
       could accept as adequate and sufficient to support a conclusion of a
       defendant's guilt beyond a reasonable doubt.

Id. (quoting United States v. Armel, 585 F .3d 182, 184 (4th Cir. 2009)).


1
 The scope of appeal from a magistrate judge's judgment is "the same as in an appeal to the
court of appeals from a judgment entered by a district judge." Fed. R. Crim. P. 58(g)(2)(D). See
also United States v. Bursey, 416 F.3d 301, 305-06 (4th Cir. 2005).
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       Dr. Jaffe maintains that his physical contact with Dr. Rinonos should be evaluated

under the law of the Commonwealth of Virginia. Dr. Jaffe relies on Parish v.

Commonwealth, 693 S.E.2d 315 (Va. Ct. App. 2010), to support his contention that

simple assault requires an intentional offensive touching. Drawing from the teachings of

Parish, Dr. Jaffe argues that "[i]mportantly, the question of whether a touching is a

battery, and therefore a simple assault under 18 U.S.C. § 113, 'depends on the intent of

the actor, not on the force applied."' (Def.'s Br. Supp. Appeal 8 (citing Parish, 693

S.E.2d at 319).) Section l 13(a)(5) requires an intentional offensive touching.

       As the Fourth Circuit noted in United States v. Passaro, "courts have uniformly

recognized that various federal statutes criminalizing 'assault' incorporate the long-

established common law definition of that term." 577 F.3d 207, 217-18 (4th Cir. 2009).

The Fifth Circuit opinion in United States v. Delis is also instructive. 558 F .3d 177

(2d Cir. 2009). "Section 113(a)(5) criminalizes 'simple assault,' a term grounded in

common law. Where, as here, a statute incorporates language with an accepted common-

law definition, our construction of the statute is guided by that accepted meaning absent a

clear contrary indication." Id. at 180 (citing United States v. Shabani, 513 U.S. 10, 13

(1994)).

       After a detailed explanation of the evolution of Section 113(a)(5), the Fifth Circuit

concluded that

       completed common-law battery, including offensive touching, falls within
       the definition of the term "simple assault" as used in 18 U.S.C. §l 13(a)(5).
       As common-law battery did not require specific intent to injure, we further
       conclude that conviction under§ 113(a)(5) for conduct constituting


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        common-law battery does not require any finding of specific intent to
        injure.

Delis, 558 F .3d at 184. The United States Supreme Court in United States v. Castleman

provided further context in concluding that at common law, "the element of force in the

crime of battery was 'satisfied by even the slightest offensive touching."' 572 U.S. 157,

163 (2014) (quoting Johnson v. United States, 559 U.S. 133, 139 (2010)).

        The Magistrate Judge in this case, while acknowledging a paucity of law

explaining and applying the definition of simple assault, essentially adopted the definition

requested by Dr. Jaffe stating, "I've already set forth what I believe to be the legal

standard. That standard is that the government has to prove beyond a reasonable doubt

that the defendant intentionally touched Dr. Rinonos in an offensive manner." (Tr. 207-

08.) The judge further noted, "I believe that when somebody intentionally touches

somebody to restrain them from their free will, that constitutes a simple assault." (Id. at

208.)

        At this juncture, the scope of review is narrow. As the Fourth Circuit explained in

United States v. Bishop, this Court "must uphold a guilty verdict if, taking the view most

favorable to the Government, there is substantial evidence to support the verdict." 740

F.3d 927,935 (4th Cir. 2014) (quoting Elliott v. United States, 332 F.3d 753, 760-61 (4th

Cir. 2003)). The Fourth Circuit further counseled in Bishop that appellate courts should

be "mindful that, as the trier of fact, [the trial] court was in a better position than [the

appellate court] to evaluate the credibility of witnesses, take into account circumstances,

and make reasonable inferences. Thus [the appellate court should] reverse on sufficiency


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grounds only where 'the prosecution's failure is clear.'" Id. (citing Burks v. United

States, 437 U.S. 1, 17 (1978}}.

       The Magistrate Judge acknowledged that "we have a battle of credibility here."

(Tr. 208.} In his concluding analysis, he found the government's witnesses more

credible. 2 He discounted Dr. Jaffe's credibility "finding it self-serving and directly in

conflict of the other witnesses." (Id}

       This Court therefore finds that there is substantial evidence to support the verdict

of the Magistrate Judge and Dr. Jaffe's conviction will be affirmed.

       An appropriate Order will accompany this Memorandum Opinion.


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                                                    Henry E. Hudson
                                                    Senior United States District Judge

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Richmond, Virginia




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  In his remarks, the Magistrate Judge expressed his regret that a dispute between two well-
credentialed physicians over wearing gloves to perform a medical procedure resulted in a
criminal prosecution. He also expressed his opinion that the matter could have been handled
better. (Tr. 213-14.) This Court agrees.

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